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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                             §   Chapter 7
                                                   §
ALEXANDER E. JONES                                 §   Case No. 22-33553
                                                   §
         Debtor.                                   §


   SUMMARY COVER SHEET TO THE FINAL FEE APPLICATION OF RACHEL
  KENNERLY, LLC AS TAX ACCOUNTANT TO THE DEBTOR FOR THE PERIOD
           FROM DECEMBER 06, 2022, THROUGH JUNE 14, 2024

   Name of Applicant:                                              RACHEL KENNERLY, LLC
   Applicant’s Role in Case:                                Tax Accountant to Debtor
   Date Order of Employment Signed:                                  January 20, 2023
                                                           Beginning Date               End Date
   Time period covered by this Application                   12/06/2022                 06/14/2024
   Time period(s) covered by prior Applications:             12/06/2022                 12/31/2023
   Total fees requested in this Application:                                                $30,925.00
   Total professional fees requested in this Application                                    $30,925.00
   Total actual professional hours covered by this Application:                                      99.5
   Average hourly rate for professionals:                                                       310.80
   Total paraprofessional fees requested in this Application:                                        0.00
   Total actual paraprofessional hours covered by this Application:                                  0.00
   Average hourly rate for paraprofessionals:                                                        0.00
   Reimbursable expenses sought in this application:                                                 0.00
   Total to be Paid to Priority Unsecured Creditors:                                                 N/A
   Anticipated % Dividend to Priority Unsecured Creditors:                                           N/A
   Total to be Paid to General Unsecured Creditors:                                                  N/A
   Anticipated % Dividend to General Unsecured Creditors:                                            N/A
   Date of Confirmation Hearing:                                                                     N/A
   Indicate whether plan has been confirmed:                                                         No.




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                           §    Chapter 7
                                                 §
ALEXANDER E. JONES                               §    Case No. 22-33553
                                                 §
         Debtor.                                 §

               FINAL FEE APPLICATION OF RACHEL KENNERLY, LLC
              AS TAX ACCOUNTANT TO THE DEBTOR FOR THE PERIOD
                 FROM DECEMBER 06, 2022, THROUGH JUNE 14, 2024
         If you object to the relief requested, you must respond in writing. Unless
         otherwise directed by the Court, you must file your response electronically at
         https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
         was filed. If you do not have electronic filing privileges, you must file a written
         objection that is actually received by the clerk within twenty-one days from
         the date this application was filed. Otherwise, the Court may treat the pleading
         as unopposed and grant the relief requested.

         Pursuant to §§ 327, 330, and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

Local Rules”) Rachel Kennerly, LLC (“Kennerly”), as tax accountant to the Debtor, hereby files

its Final Fee Application of Rachel Kennerly, LLC as Tax Accountant to the Debtor for Allowance

and Payment of Fees and Expenses for the Period From December 06, 2022 Through June 14,

2024 (the “Application”).

                                 I.      RELIEF REQUESTED

         1.     Kennerly requests that the Court enter an order allowing Kennerly’s compensation

for professional services rendered during December 06, 2022, through June 14, 2024 (the

“Application Period”) for (a) $30,925.00 for professional fees and services provided during the

Application Period, and (b) $0.00 for reimbursement of actual and necessary expenses incurred by

Kennerly.


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                                     II.   JURISDICTION

       2.      The United States Bankruptcy Court for the Southern District Texas (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant

to 28 U.S.C. § 157(b).

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The basis for the relief requested herein is § 330 of the Bankruptcy Code,

Bankruptcy Rule 2016, and Bankruptcy Local Rule 2016-1.

                          III.    PROCEDURAL BACKGROUND

       5.      On December 02, 2022, Alexander E. Jones (the “Debtor”) filed a voluntary

petition for relief under Chapter 11 of title 11 of the Bankruptcy Code. The Debtor is an employee

of Free Speech Systems, LLC (“FSS”). FSS filed its voluntary petition for relief under chapter 11

of the Bankruptcy Code on July 29, 2022.

       6.      On December 20, 2022, the Debtor filed his Application for Entry of an Order

Authorizing Employment of Rachel Kennerly, LLC as Tax Accountant for Debtor Effective as of

the Petition Date (the “Retention Application”) [Dkt. No. 83].

       7.      On January 20, 2023, the Court entered its Order Authorizing Employment of

Rachel Kennerly, LLC as Tax Accountant for Debtor Effective as of the Petition Date (the

“Retention Order”) [Dkt. No. 111].

       8.      After approximately eighteen months of attempting to work through the Chapter 11

process and reach an agreement with creditors that would result in a successful plan of

reorganization, the Debtor realized that such an agreed path forward would be impossible. Thus,

on or about June 14, 2024, at the Debtor’s request, the Court entered an Order converting the

Debtor’s Chapter 11 Case to one under Chapter 7 of the Bankruptcy Code [Dkt. No. 708].




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        9.      Kennerly performed services throughout the Application Period for which it is

seeking compensation on behalf of the Debtor and his estate, and not on behalf of any committee,

creditor, or other entity.

        10.     Except as set forth in the Retention Application, Kennerly has received no post-

petition retainers and no promises for payment from any other source other than the Debtor for

services provided or to be provided in any capacity whatsoever in connection with this Case.

        11.     Pursuant to Bankruptcy Rule 2016(b), Kennerly has not shared, nor has Kennerly

agreed to share (a) compensation it has received or may receive with any other party or person

other than the employees or members of Kennerly or (b) any compensation another person or party

has received or may receive.

        12.     On January 20, 2023, the Court entered the Order Granting Motion for Entry of an

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Chapter 11 Professionals [Dkt. No. 106] (the “Interim Compensation Order”), setting forth the

procedures for Court approved professionals, including Kennerly, to serve monthly fee statements

(each, a “Monthly Fee Statement”) on certain parties that include a detailed statement of services

rendered and expenses incurred by each professional for that particular month.

        13.     For the Application Period, Kennerly has filed the following interim fee

applications (the “Interim Fee Applications”) and the following Monthly Fee Statements:

                a. First Monthly Fee Statement of Rachel Kennerly, LLC for Allowance of

                    Compensation for Services Rendered as Tax Accountant to the Debtor for the

                    Period from December 6, 2022 Through January 31, 2023 [Dkt. No. 195];

                b. Second Monthly Fee Statement of Rachel Kennerly, LLC for Allowance of

                    Compensation for Services Rendered as Tax Accountant to the Debtor for the




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                   Period from February 1, 2023 Through March 31, 2023 [Dkt. No. 260];

                c. First Interim Fee Application of Rachel Kennerly, LLC as Tax Accountant to

                   the Debtor for the Fee Period from December 6, 2022 Through May 15, 2023

                   (the “First Interim Fee Application”) [Dkt. No. 308];

                d. Third Monthly Fee Statement of Rachel Kennerly, LLC for Allowance of

                   Compensation for Services Rendered as Tax Accountant to the Debtor for the

                   Period from May 16, 2023 Through July 31, 2023 [Dkt. No. 447];

                e. Fourth Monthly Fee Statement of Rachel Kennerly, LLC for Allowance of

                   Compensation for Services Rendered as Tax Accountant to the Debtor for the

                   Period from August 1, 2023 Through October 31, 2023 [Dkt. No. 508];

                f. Fifth Monthly Fee Statement of Rachel Kennerly, LLC for Allowance of

                   Compensation for Services Rendered as Tax Accountant to the Debtor for the

                   Period from November 1, 2023 Through December 31, 2023 [Dkt. No. 613].

        14.     Each Interim Fee Application was granted without objection and has been paid in

full to date.

        15.     Kennerly has submitted monthly fee statements for the period following the First

Interim Fee Application and has received payments on 80% of the fees and 100% of the expenses

requested in those monthly fee statements.

        16.     Attached hereto as Exhibit “A” are the invoices for legal services rendered to the

Debtor by Kennerly during the Application Period. The invoices itemize the services rendered in

a format that reflects a description of each service entry, the amount of time spent in rendering the

service, the date the service was performed, who performed the service, and the hourly rate of the

person performing the service. Exhibit “A” reflects reasonable time and expenses incurred in this




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case for the Application Period.

       17.      An analysis of the twelve factors affecting the reasonableness of professional fees

as set forth in In the Matter of First Colonial Corp. of America, 544 F. 2d 1291 (5th Cir. 1977),

cert. denied, 97 S. Ct. 1696 (1977), aids the Court’s determination of matters affecting

compensation.

                a. Customary fee. The fees charged are customary and usual fees charged by

                   Kennerly and similar firms in the Houston geographical area for the services

                   rendered by the professionals involved.

                b. Contingent nature of fee. This was not a factor in this case.

                c. Time limitations imposed by the client or other circumstances. This case

                   presented time limitations due to certain tax deadlines and client scheduling

                   issues.

                d. Experience, reputation, and ability of attorneys. Kennerly is well-recognized in

                   the community for its accounting expertise.

                e. Undesirability of the case. This was an undeniable factor in this case. The

                   Debtor is a controversial figure.

                f. Nature, length, and professional relationship with client. Kennerly has an

                   ongoing professional relationship with the Debtor.

                g. Awards in similar cases. In Kennerly’s experience, the fees requested in this

                   Application are comparable and likely less than those in cases similar in subject

                   matter and complexity.

                h. Results obtained. Kennerly prepared taxes as requested and required.




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 IV.     REIMBURSEMENT FOR THE PREPARATION OF THE FEE APPLICATION

       18.     Under the Fifth Circuit decision of In re First Colonial Corporation of America,

544 F.2d 1291 (5th Cir.) cert. denied 97 S. Ct. 1696 (1977), and subsequent Fifth Circuit decisions

detailed applications for compensation are mandated. In 1980, in Rose Pass Mines v. Howard, 615

F.2d 1088, the Fifth Circuit condoned the practice of compensating professionals for their efforts

in providing the courts and creditors with the required detailed applications.

       WHEREFORE, RACHEL KENNERLY, LLC. respectfully requests that the Court:

approve this Application; find that the fees requested in this Application are actual and necessary

for the reasons set forth herein; award Kennerly (a) $30,925.00 for professional fees and services

provided during the Application Period and (b) $0.00 for reimbursement of actual and necessary

expenses incurred by Kennerly; and for such other and further relief as the Court deems just.


Dated: June 28, 2024

                                              RACHEL KENNERLY, LLC.

                                              By: /s/ Rachel Kennerly
                                              Rachel Kennerly
                                              3035 Ted Trout Dr.
                                              Lufkin, TX 75904
                                              Telephone: 903-631-0317
                                              Email: rachel@kennerlycpa.com

                                              TAX ACCOUNTANT FOR
                                              DEBTOR, ALEXANDER E. JONES




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                                            /s/ Christina W. Stephenson

                                            CROWE & DUNLEVY, P.C.
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                                            State Bar No. 24049535
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                                            ATTORNEYS FOR DEBTOR
                                            ALEXANDER E. JONES, filing on behalf of
                                            estate professionals


                               CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of June, 2024 a copy of the foregoing was served via

the Court’s ECF system upon all parties receiving notice through same.


                                            /s/ Christina W. Stephenson
                                            Christina W. Stephenson




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